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                                IN THE UNITED STATES COURT OF APPEALS
                                        FOR THE FOURTH CIRCUIT

                                                        *
        UNITED STATES OF AMERICA
                                                        *
                 v.                                            No. 07-4059 (L)
                                                        *
        PAULETTE MARTIN, et al.
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                               MOTION TO EXTEND TIME FOR BRIEFING

                       Comes now Appellant herein, Paulette Martin, by and through her counsel, Michael

        D. Montemarano, Esq., and Michael D. Montemarano, P.A., as appointed counsel pursuant to the

        CJA, and as lead appellate counsel for the five other Appellants herein, and does move for the

        extension of the time for the briefing of this matter, and in support thereof does state:

                 1.    The Joint Brief of Appellants is due on October 12, 2010, per the current briefing

        order.

                 2.    After numerous fits and starts since June, 2010, lead appellate counsel (undersigned)

        now has received (within the past ten business days) materials for the Joint Brief from all five other

        counsel for Appellants, and is assembling the JA and Joint Brief. That being said, lead counsel has

        other, pre-existing, professional responsibilities which call upon his time, and therefore has not been

        able to expend the time required to complete the Joint Brief.

                 3.    Conditioned upon this recent provision of materials, the JA designation is not yet

        complete. Accordingly, Appellants contemporaneously herewith have moved to be permitted to

        submit a deferred appendix, pursuant to Local Rule 30 ( c), as counsel for Appellee, who only

        recently has entered the case, cannot reasonably be expected to assimilate what certainly will be an
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        oversized brief and JA, encompassing at least 15 issues within anything but an extended period of

        time.

                4.     Counsel for Appellant therefore requests that the time for briefing be extended, and

        the due date of the Joint Brief of Appellants be rescheduled to no earlier than October 29, 2010.

                5.     Counsel for Appellant is authorized to state that counsel for Appellee consents to the

        grant of the requested relief.

                                                       Respectfully submitted,



        October 14, 2010                                       /s/
                                                       MICHAEL D. MONTEMARANO

                                                       Michael D. Montemarano, P.A.
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                                                       Counsel of Record/CJA Counsel
                                                             For Appellant


                                         CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on or before this 14th day of October, 2010, a copy of the
        foregoing Motion to Extend Time for Briefing was filed via CM-ECF, and served via direct email,
        on Daniel Greenberg, Esq., US Department of Justice, Criminal Appellate Section, 1264 Main
        Building, 950 Pennsylvania Avenue, NW, Washington, DC 20530.


                                                              /s/
                                                       MICHAEL D. MONTEMARANO




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